                IN THE UNITED STATES DISTRICT COURT
            FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                         SOUTHERN DIVISION
                          NO. 7:20-CR-167-M-1

UNITED STATES OF AMERICA,               )
                                        )
                  v.                    )
                                        ) ORDER
LIAM MONTGOMERY COLLINS                 )


      Upon motion of the United States, with consent of defendant, and for good

cause shown, it is hereby

      ORDERED that Exhibit 7, submitted at hearing December 16, 2020, and

placed temporarily under seal, shall remain under seal; that the government’s

proposed redacted Exhibit 7 is accepted for filing in the public record; and that all

other exhibits submitted by the government December 16, 2020 and temporarily

placed under seal (that is, Exhibits 1 through 6, 8, and 9) are unsealed at this time.

Fed. R. Crim. Proc. 49.1(d).

      So ordered, this ______ day of December, 2020.




                                        ___________________________________
                                        JAMES E. GATES
                                        United States Magistrate Judge




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